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             IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF KENTUCKY
                     COVINGTON DIVISION

State of Tennessee; Commonwealth of
Kentucky; State of Ohio; State of
Indiana; Commonwealth of Virginia;
and State of West Virginia,
Plaintiffs,

and

Christian Educators Association
International; A.C., by her next friend
and mother, Abigail Cross,
Intervenor-Plaintiffs,

v.
                                           2:24-cv-00072-DCR-CJS
Miguel Cardona, in his official            Judge Danny C. Reeves
capacity as Secretary of Education;
and United States Department of
Education,
Defendants,

A Better Balance,
[Proposed] Intervenor-Defendant,

and

Victim Rights Law Center and Jane
Doe,
[Proposed] Intervenor-Defendants

      [PROPOSED] ORDER GRANTING PROPOSED INTERVENOR-
     DEFENDANTS VICTIM RIGHTS LAW CENTER AND JANE DOE’S
                    MOTION TO INTERVENE
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                                   ID#: 5925



      Upon consideration of proposed Intervenor-Defendants Victim Rights Law

Center and Jane Doe’s motion to intervene, Intervenor-Defendants’ motion is

hereby GRANTED.

IT IS SO ORDERED.


Date: _______________
                                           United States District Judge
